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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

DEMONTRAY HUNTER, et al.,          )
                                   )
     Plaintiffs,                   )
                                   )        CIVIL ACTION NO.
     v.                            )          2:16cv798-MHT
                                   )
LYNN T. BESHEAR, in her            )
official capacity as the           )
Commissioner of the                )
Alabama Department of              )
Mental Health,                     )
                                   )
     Defendant.                    )

                                ORDER

    Based on the representations made on the record on

February 12, 2019, it is ORDERED as follows:

    (1) By noon on April 1, 2019, the parties are to

file a joint status report regarding defendant Lynn T.

Beshear’s    current      non-compliance        with    the     consent

decree (doc. no. 94).

    (2) By noon on February 14, 2019, the parties are

to file a joint statement as to what the joint status

report should contain.
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    (3) Another on-the-record status conference is set

for April 3, 2019, at 10:00 a.m.                 The clerk of the

court is to arrange for the conference to be conducted

by telephone.

    DONE, this the 13th day of February, 2019.

                                   /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
